Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 1 of 6 Page ID #:64



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11
     Attorneys for Plaintiffs
12

13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15

16   AMADOU LAMINE DIOUF,                    CASE NO. CV 07-03977 TJH(CTx)
     RAYMOND SOEOTH, individually
17   and on behalf of all others similarly   PLAINTIFFS' SECOND AMENDED
     situated,                               NOTICE OF MOTION FOR
18                                           PRELIMINARY INJUNCTION
                       Plaintiffs,
19
                 vs.                         New Date: January 28, 2008
20                                           Time: UNDER SUBMISSION
     MICHAEL CHERTOFF,                       Courtroom: 17
21   SECRETARY OF DHS, NEIL
     SAMPSON, INTERIM DIRECTOR
22   OF DIHS, JOHN DOES 1-4
     (FEDERAL OFFICIALS WITHIN
23   THE DEPARTMENT OF
     HOMELAND SECURITY AND
24   DIVISION OF IMMIGRATION
     HEALTH SERVICES), DAVID
25   MARTIN, RN, DR. TOBE PROPST,
     MINERVA STEVENSON, JOHN
26   DOES 5-7 (ICE OFFICERS OR
     PRIVATE SECURITY OFFICERS),
27   JOHN TORRES, DIRECTOR OF
     ICE OFFICE OF DETENTIAL
28   AND REMOVAL, ANTHONY
     4181057.1                                     PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                     MOTION FOR PRELIMINARY INJUNCTION
Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 2 of 6 Page ID #:65



 1   TANGEMAN, FORMER
     DIRECTOR OF ICE OFFICE OF
 2   DETENTIAL AND REMOVAL,
     JOHN DOES 8-10 (FEDERAL
 3   OFFICIALS WITHIN THE
     DEPARTMENT OF HOMELAND
 4   SECURITY AND DIVISION OF
     IMMIGRATION HEALTH
 5   SERVICES), JEFFRY BRINKLEY,
     JOHN DOE 11 (A PHYSICIAN),
 6   MARK PORTER, JOHN DOE 12
     (AN ICE OFFICER), JOHN DOES
 7   13-14 (FEDERAL OFFICIALS
     WITHIN THE DIVISION OF
 8   IMMIGRATION HEALTH
     SERVICES),
 9
                    Defendants.
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     4181057.1                                     PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                     MOTION FOR PRELIMINARY INJUNCTION
Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 3 of 6 Page ID #:66



 1   TO ALL PARTIES AND THEIR COUNSEL
 2                PLEASE TAKE NOTICE THAT on January 28, 2008, at a time yet to
 3   be determined, or as soon thereafter as the matter may be heard, in Courtroom 17 of
 4   the above-entitled court located at 312 North Spring Street, Los Angeles, California
 5   90012, Plaintiffs will and do hereby move for a preliminary injunction enjoining
 6   Defendants as follows:
 7                (1) From giving any anti-psychotic medication to any class member
 8   unless a qualified physician has examined that non-citizen and determined that the
 9   medication is appropriate to treat a mental illness, in compliance with the procedure
10   set forth in 28 C.F.R. 549.43; and
11                (2) From forcibly administering any drug to any class member in
12   order to facilitate the deportation of that class member unless an Article III judicial
13   officer determines that the forcible administration of the drug is necessary and
14   appropriate after receiving evidence from a qualified physician who has determined
15   that the administration of that drug is medically appropriate.
16                Plaintiffs' motion is based upon this Second Amended Notice of
17   Motion, the Amended Notice of Motion and Motion filed on November 19, 2007,
18   the memorandum of points and authorities and exhibits filed concurrently with the
19   Amended Notice, all other pleadings, records, and exhibits on file in this action, and
20   such additional authorities and arguments as may be presented in reply and at any
21   hearing on Plaintiffs’ motion.
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     4181057.1                                 -1-        PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                            MOTION FOR PRELIMINARY INJUNCTION
Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 4 of 6 Page ID #:67



 1               This motion is made following the conference of counsel pursuant to
 2   L.R. 7-3 which took place on July 5, 2007. See Arulanantham Decl. attached to
 3   Plaintiff’s Second Amended Motion for Class Certification at ¶ 8.
 4

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 6   DATED: January 2, 2008                    Respectfully submitted,
 7                                             ACLU FOUNDATION OF
                                               SOUTHERN CALIFORNIA
 8
                                               MUNGER, TOLLES & OLSON LLP
 9
                                               By:              /s/
10                                                        WESLEY T. SHIH
                                                         Attorneys for Plaintiffs
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     4181057.1                               -2-       PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                         MOTION FOR PRELIMINARY INJUNCTION
Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 5 of 6 Page ID #:68



 1                        PROOF OF SERVICE BY E-MAIL AND U.S. MAIL
 2                  I, Valentina Neufeld, declare:
 3                  1.      I am over the age of 18 and not a party to the within cause. I am employed
 4   by Munger, Tolles & Olson LLP in the County of Los Angeles, State of California. My business
 5   address is 355 South Grand Avenue, Thirty-Fifth Floor, Los Angeles, California 90071-1560.
 6                  2.      On January 3, 2008, I served a true and correct PDF image of the attached
 7   document entitled PLAINTIFFS' SECOND AMENDED NOTICE OF MOTION FOR
 8   PRELIMINARY INJUNCTION by causing it to be sent via electronic transmission to the
 9   following person(s) at the e-mail address(es) indicated on the attached service list.
10                  3.      In addition to causing the electronic transmission, I placed a true copy of
11   said document in an addressed sealed envelope(s) clearly labeled to identify the person(s) being
12   served at the address(es) shown set forth on the attached service list and placed said envelope(s)
13   in interoffice mail for collection and deposit with the United States Postal Service at 355 South
14   Grand Avenue, Thirty-Fifth Floor, Los Angeles, California, on the date indicated in paragraph 2,
15   following ordinary business practices.
16                  4.      I am familiar with Munger, Tolles & Olson LLP’s practice for collection
17   and processing correspondence for mailing with the United States Postal Service; in the ordinary
18   course of business, correspondence placed in interoffice mail is deposited with the United States
19   Postal Service with first class postage thereon fully prepaid on the same day it is placed for
20   collection and mailing.
21                  I declare that I am employed in the office of a member of the bar of this court at
22   whose direction the service was made.
23                  I declare under penalty of perjury that the foregoing is true and correct. Executed
24   on January 3, 2008, at Los Angeles, California.
25

26                                                                        /s/
                                                                    VALENTINA NEUFELD
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                                                                 PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                                 MOTION FOR PRELIMINARY INJUNCTION
Case 2:07-cv-03977-TJH-CT Document 62 Filed 01/03/08 Page 6 of 6 Page ID #:69



 1                                      SERVICE LIST
 2                     Amadou Lamine Diouf, et al v. Michael Chertoff, et al.
                              (D. Ct. No. CV 07-03977 TJH(CTx))
 3
     Sheri Glaser                                  Gjon Juncaj
 4   Trial Attorney                                Trial Attorney
 5   U.S. Department of Justice                    U.S. Department of Justice
     Office of Immigration Litigation              Office of Immigration Litigation
 6   529 14th Street, NW                           P.O. Box 878
 7   National Press Building                       Ben Franklin Station
     Room 1148-14                                  Washington, DC 20044
 8   Washington, DC 20530                          email: gjon.juncaj@usdoj.gov
 9   Fax: (202) 233-0397
     Email: sheri.glaser@usdoj.gov
10

11
     C. Barrington Wilkins
12   Trial Attorney
13   U.S. Department of Justice
     Office of Immigration Litigation
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15   Ben Franklin Station
     Washington, DC 20044
16   email: c.barrington.wilkins@usdoj.gov
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                                                          PLAINTIFFS' SECOND AMENDED NOTICE OF
                                                          MOTION FOR PRELIMINARY INJUNCTION
